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UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT
Form 1. Notice of Appeal from a Judgment or Order of a
United States District Court

 

Name of U.S. District Court: Central District of California

 

 

 

 

U.S. District Court case number:| 2:16-CV-06603-PSG-PLA

 

 

Date case was first filed in U.S. District Court:} 09/1/2016

 

 

 

 

Date of judgment or order you are appealing: | 12/27/2019

 

Fee paid for appeal? (appeal fees are paid at the U.S. District Court)

@ Yes C No~ C IFP was granted by U.S. District Court

 

List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)

 

Kimberly Archie, as survivor of decedent Paul Bright Jr.; Jo Cornell, as
survivor of decedent Tyler Cornell; Jo Cornell, an individual.

 

 

Is this a cross-appeal? C Yes @ No

 

 

 

If Yes, what is the first appeal case number?

 

Was there a previous appeal in this case? © Yes @ No

 

If Yes, what is the prior appeal case number?

 

 

 

Your mailing address:

16001 Ventura Blvd., Suite 200

 

 

 

 

 

 

 

 

City: |Encino State: |CA Zip Code:|91436

 

 

 

 

 

 

 

 

 

 

 

Prisoner Inmate or A Number (if applicable):

 

 

 

 

 

 

 

Signature | /s/ Boris Treyzon Date |1/22/2020

 

 

Complete and file with the attached representation statement in the U.S. District Court

Feedback or questions about this form? Email us at formis\aca9. uscourts.gov

 

Form 1 Rev, 12/01/2018
